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Of Attorneys for Plaintiffs


                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION


NORMAN ALAN RICE and MONIKA                )
GARTNER,                                   )    Case No. 3: 18-cv-00875-MO
                                           )
               Plaintiffs                  )
                                           )    FIRST AMENDED C OMPLAINT
               V.                          )
                                           )    For Violation of
                                           )       18 USC § 1962 and Private
GINA LINDA AMBROCIO; CARL G.               )    Nuisance
ANDERSON; JOHN WILLIAM                     )
ANDERSON; ARTEMIS LINK LLC;                )
MICHAEL BENNETT; BITE ONE”S LIP, )
LLC dba DEANZ GREENZ; BORNSTEDT,)
LLC dba LIFESTYLE FARMS; DAVID )
GARRETT BROWN; FELIX FRANKLIN )
BROWN, JR; DEAN BRUNDIDGE;     )
RACHEL BUCKEY-HALL aka RACHEL )
BUCKEY HALL; DALE ROBERT       )
BURKHOLDER; RAMON MALDONADO)
CASTILLO aka MALDONADO RAMON )
CASTILLO; MATTHEW CHEATLE;     )
CHRISTOPHER W. EASTMAN; JERALD )
ALAN EISERT; AARON FRANKEL;    )
KATHLEEN ALEXANDER GIBSON aka )
KATHI A. GIB SON; CHERYL ANN   )
GORDON-DOLLAR; RAYMOND         )
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EUGENE HALL; COLIN EDWARD




                                  vvvvvvvvvvvvvvvvvvvv
HOBBS; WHITNEY AMANDA HOBBS;
STACEY KELLEY; JOSHUA CHARLES
EDWARD LINGLE; LINDA K. LONG;
JUSTIN MARK MANNS; MATTHEW
MARTIN; HEIDI MARIE MAXWELL;
GARY NIEAD MCDONALD; JOEL
EDWARD MCMAHON; OREGON’S
BEST NIEDS, LLC dba OREGON’S BEST
BUDS; ALANA LEE OTNESS; LISA
ROCKDASCHEL; STEVEN ANTHONY
SCARDINO; AARON BRET SHELLEY;
JILL NICOLE SHELLEY; RACHELLE
SIVERTSON; TODD ALLEN
SIVERTSON; TAMMY ANNE ST. JOHN;
TAS INVESTNIENTS, LLC; DAVID
ALBERT TYSON; VESSEL, INC. dba
VESSEL; ANDREW RYAN WEITZ;
ANNETTE CORINE ANDERSON aka
ANNETTE CORINE CRAWFORD;
ATTIKUS ENTERPRISES, INC. dba IVY )
CANNABIS; DAVID NEAL                         )
SCHWIMMER and MATTHEW CORREY )
SCHWIMMER,                                   )
                                             )
            Defendants                       )




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       COME NOW, Plaintiffs Norman Alan Rice and Monika Gartner (“Plaintiffs”), and

hereby allege as follows.

                                       INTRODUCTION

                                                  1.

       Plaintiffs are Oregon property owners who live immediately adjacent to the former Mt.

Hood Equestrian Center located at 29450 SE LaIiat Lane in Bon'ng, Oregon (“Lam'at Lane

Property”). Plaintiffs have been damaged by a cn'minal enterpIise (the “Marijuana Operation”)

producing and processing marijuana at the LaIiat Lane Property and other properties, and then

trafficking that marijuana. Plaintiffs seek redress under the Racketeer Inﬂuenced and Corrupt

Organizations Act (“RICO”), which requires those who engage in racketeeiing activity,

including the production and sale of marijuana as a controlled substance, to pay treble damages,

reasonable attorneys’ fees and costs to those whom they injure. Plaintiffs also seek damages for

private nuisance.

                                W
                                                  2.

       Pursuant to 28 USC. § 1331, this Court has on'ginal jurisdiction over claims brought

under 18 USC. § 1964.

                                                  3.

       Venue is proper in this Court pursuant to 28 USC. § 1391(b)(2) because the events

giving Iise to this action took place in, and continue to take place in, Clackamas County, Oregon.




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                                           PARTIES

                                                  4.

       Plaintiffs are each natural persons who own and reside on real property located at 29440

SE LaIiat Lane, Bon'ng, Oregon (“Plaintiffs’ Property”).

                                                  5.

       Defendant Gina Linda Ambrocio (“Defendant Ambrocio”) is a natural person resident in

Portland, Oregon. As further desc1ibed herein, Defendant Ambrocio produced marijuana on the

LaIiat Lane Property for the Marijuana Operation, facilitated the trafficking of marijuana

produced by the Man'juana Operation and knowingly received proceeds from such trafﬁcking.




                                                  6.

       Defendant Carl G. Anderson (“Defendant Carl Anderson”) is a natural person resident in

Gresham, Oregon. As further desc1ibed herein, Defendant Carl Anderson produced marijuana

on the Lariat Lane Property for the Man'juana Operation, facilitated the trafficking of marijuana

produced by the Man'juana Operation and knowingly received proceeds from such trafﬁcking.

                                                  7.

       Defendant John William Anderson (“Defendant John Anderson”) is a natural person

resident in Gresham, Oregon. As further desc1ibed herein, Defendant John Anderson trafficked

marijuana produced by the Man'juana Operation, including marijuana produced on the LaIiat

Lane Property, and knowingly received proceeds from such trafficking.

                                                  8.

       Defendant Artemis Link LLC (“Defendant Artemis”) is an Oregon limited liability


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company with its principal place of business in Beaverton, Oregon. As further desc1ibed herein,

Defendant Artemis trafﬁcked man'juana produced by the Marijuana Operation, including

marijuana produced on the LaIiat Lane Property, and knowingly received proceeds from such

trafficking.

                                                  9.

        Defendant Michael Bennett (“Defendant Bennett”) is a natural person resident in Cottage

Grove, Oregon. As further desc1ibed herein, Defendant Bennett trafficked man'juana produced

by the Marijuana Operation, including marijuana produced on the LaIiat Lane Property, and

knowingly received proceeds from such trafficking.

                                                 10.

        Defendant Bite One”s (sic) Lip, LLC (“Defendant BOL”) is an Oregon limited liability

company with its principal place of business in Portland, Oregon. At all relevant times,

Defendant BOL did business as Deanz Greenz, an assumed business name registered with the

Oregon Secretary of State. As further desc1ibed herein, Defendant BOL trafficked marijuana

produced by the MaIijuana Operation, including man'juana produced on the LaIiat Lane

Property, and knowingly received proceeds from such trafﬁcking.

                                                 11.

        Defendant Bornstedt, LLC (“Defendant Bornstedt”) is an Oregon limited liability

company with its principal place of business in Sandy, Oregon. At all relevant times, Defendant

Bornstedt did business as LifeStyle Farms, an assumed business name registered with the Oregon

SecretaIy of State. As further desc1ibed herein, Defendant Bornstedt produced and processed

marijuana and marijuana concentrates for the Marijuana Operation on the LaIiat Lane Property

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and other properties and knowingly received proceeds from the trafficking of man'juana by the

MaIijuana Operation.

                                                 12.

       Defendant David Garrett Brown (“Defendant David Brown”) is a natural person resident

in Portland, Oregon. As further desc1ibed herein, Defendant David Brown trafficked marijuana

for the Marijuana Operation, including marijuana produced on the LaIiat Lane Property, and

knowingly received proceeds from such trafficking.

                                                 13.

       Defendant Felix Franklin Brown, Jr. (“Defendant Felix Brown”) is a natural person

resident in Scappoose, Oregon. As further desc1ibed herein, Defendant Felix Brown produced

marijuana on the Lariat Lane Property for the MaIijuana Operation, facilitated the trafficking of

marijuana by the Marijuana Operation and knowingly received proceeds from such trafficking.

                                                 14.

       Defendant Dean Brundidge (“Defendant Brundidge”) is a natural person resident in

Portland, Oregon. As further desc1ibed herein, Defendant Brundidge trafficked marijuana for the

MaIijuana Operation, including man'juana produced on the LaIiat Lane Property, and knowingly

received proceeds from such trafficking.

                                                 15.

       Defendant Rachel Buckey-Hall, aka Rachel Buckey Hall (“Defendant Buckey-Hall”), is a

natural person resident in Gresham, Oregon. As further desc1ibed herein, Defendant Buckey-

Hall produced marijuana on the LaIiat Lane Property for the Marijuana Operation, facilitated the

trafficking of marijuana by the MaIijuana Operation and knowingly received proceeds from such

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trafficking.

                                                  16.

        Defendant Dale Robert Burkholder (“Defendant Burkholder”) is a natural person resident

in Gresham, Oregon. As further desc1ibed herein, Defendant Burkholder developed the Lariat

Lane Property for the production of marijuana by the Marijuana Operation, managed the

MaIijuana Operation, made financial investments in the Marijuana Operation, and knowingly

received proceeds from the trafficking of marijuana by the Marijuana Operation.

                                                  17.

        Defendant Ramon Maldonado Castillo, aka Maldonado Ramon Castillo (“Defendant

Castillo”), is a natural person resident in Portland, Oregon. As further desc1ibed herein,

Defendant Castillo produced marijuana on the LaIiat Lane Property for the Marijuana Operation,

facilitated the trafficking of man'juana by the MaIijuana Operation and knowingly received

proceeds from such trafficking.

                                                  18.

        Defendant Matthew Cheatle (“Defendant Cheatle”) is a natural person resident in San

Diego, California. As further desc1ibed herein, Defendant Cheatle developed the LaIiat Lane

Property for the production of marijuana by the Marijuana Operation, made financial

investments in the Marijuana Operation, produced marijuana for the Marijuana Operation on the

LaIiat Lane Property, and knowingly received proceeds from the trafficking of marijuana

produced by the MaIijuana Operation.

                                                  19.

        Defendant ChIistopher W. Eastman (“Defendant Eastman”) is a natural person resident in

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Bon'ng, Oregon. As further desc1ibed herein, Defendant Eastman produced marijuana on the

LaIiat Lane Property for the Marijuana Operation, facilitated the trafficking of marijuana by the

MaIijuana Operation and knowingly received proceeds from such trafficking.

                                                 20.

        Defendant Jerald Alan Eisert (“Defendant Eisert”) is a natural person resident in Boring,

Oregon. As further desc1ibed herein, Defendant Eisert produced marijuana on the LaIiat Lane

Property for the Marijuana Operation, facilitated the trafficking of man'juana by the MaIijuana

Operation and knowingly received proceeds from such trafficking.

                                                 21.

        Defendant Aaron Frankel (“Defendant Frankel”) is a natural person resident in Portland,

Oregon. As further desc1ibed herein, Defendant Frankel trafficked marijuana produced by the

MaIijuana Operation, including man'juana produced on the LaIiat Lane Property, and knowingly

received proceeds from such trafficking.

                                                 22.

        Defendant Kathleen Alexander Gibson, aka Kathi A. Gibson (“Defendant Gibson”), is a

natural person resident in Portland, Oregon. As further desc1ibed herein, Defendant Gibson

produced man'juana on the LaIiat Lane Property for the Marijuana Operation, facilitated the

trafficking of marijuana by the MaIijuana Operation and knowingly received proceeds from such

trafficking.

                                                 23.

        Defendant Cheryl Ann Gordon—Dollar (“Defendant Gordon—Dollar”) is a natural person

resident in Newberg, Oregon. As further desc1ibed herein, Defendant Gordon—Dollar facilitated

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the trafficking of marijuana by the Man'juana Operation, including man'juana produced on the

LaIiat Lane Property, and knowingly received proceeds from such trafficking.

                                                24.

       Defendant Raymond Eugene Hall (“Defendant Hall”) is a natural person resident in

Gresham, Oregon. As further descn'bed herein, Defendant Hall facilitated the trafficking of

marijuana by the Marijuana Operation, including marijuana produced on the LaIiat Lane

Property, and knowingly received proceeds from such trafﬁcking.

                                                25.

       Defendant Colin Edward Hobbs (“Defendant Colin Hobbs”) is a natural person resident

in Lake Oswego, Oregon. As further descn'bed herein, Defendant Colin Hobbs trafficked

marijuana produced by the Man'juana Operation, including marijuana produced on the LaIiat

Lane Property, and knowingly received proceeds from such trafficking.

                                                26.

       Defendant Whitney Amanda Hobbs (“Defendant Amanda Hobbs”) is a natural person

resident in Beaverton, Oregon. As further descn'bed herein, Defendant Whitney Hobbs

trafficked marijuana produced by the Man'juana Operation, including marijuana produced on the

LaIiat Lane Property, and knowingly received proceeds from such trafficking.

                                                27.

       Defendant Stacey Kelley (“Defendant Kelley”) is a natural person resident in Eugene,

Oregon. As further descn'bed herein, Defendant Kelley developed the LaIiat Lane Property for

the production of marijuana by the Marijuana Operation, made ﬁnancial investments in the

Man'juana Operation, produced marijuana on the LaIiat Lane Property for the Marijuana

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Operation, and knowingly received proceeds from the trafficking of marijuana by the Man'juana

Operation.

                                                28.

       Defendant Joshua Charles Edward Lingle (“Defendant Lingle”) is a natural person

resident in Sandy, Oregon. As further desc1ibed herein, Defendant Lingle facilitated the

trafficking of marijuana by the Man'juana Operation, including marijuana produced on the LaIiat

Lane Property, and knowingly received proceeds from such trafficking.

                                                29.

       Defendant Linda K. Long (“Defendant Long”) is a natural person resident in Sandy,

Oregon. As further descn'bed herein, Defendant Long facilitated the trafficking of marijuana by

the Marijuana Operation, including marijuana produced on the LaIiat Lane Property, and

knowingly received proceeds from such trafficking.

                                                30.

       Defendant Justin Mark Manns (“Defendant Manns”) is a natural person resident in Santa

Rosa, California. As further descn'bed herein, Defendant Manns trafficked man'juana produced

by the Marijuana Operation, including marijuana produced on the LaIiat Lane Property, and

knowingly received proceeds from such trafficking.

                                                31.

       Defendant Matthew Martin (“Defendant Martin”) is a natural person resident in Portland,

Oregon. As further descn'bed herein, Defendant Martin trafficked marijuana produced by the

Man'juana Operation, including man'juana produced on the Lan'at Lane Property, and knowingly

received proceeds from such trafficking.


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